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                                   8                                UNITED STATES DISTRICT COURT

                                   9                               NORTHERN DISTRICT OF CALIFORNIA

                                  10                                        San Francisco Division

                                  11
                                        JAMES MARION SIMS,
                                  12                                                      Case No. 15-cv-03003-LB
Northern District of California




                                                      Plaintiff,
 United States District Court




                                  13
                                                v.                                        ORDER RE. POTENTIAL EXCESSIVE
                                  14                                                      FORCE CLAIM
                                        TOMASIAN, et al.,
                                  15
                                                      Defendants.
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                                  18      In his complaint and amended complaint, James Sims asserted a claim for deliberate

                                  19   indifference to his medical needs. He also summarily mentioned in both documents that his need

                                  20   for medical care existed because he had been injured by correctional officer (“C/O”) Collier. (ECF

                                  21   No. 1. at 3; ECF No. 9 at 3.) Although mentioning that he had been injured by C/O Collier, both

                                  22   the complaint and amended complaint plainly focused on the alleged denial of medical care.

                                  23   Magistrate Judge Grewal (to whom the action was then assigned) determined that the amended

                                  24   complaint stated a cognizable claim against C/O Collier and sergeant Tomasian for deliberate

                                  25   indifference to Mr. Sims’ medical needs based on their denial of medical care for him, but made

                                  26   no mention of a potential excessive force claim. (ECF No. 10.) Service of process was ordered on

                                  27   C/O Collier and sergeant Tomasian.

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                                   1      The defendants have moved for summary judgment on the claim for deliberate indifference to

                                   2   medical needs. In his opposition to that motion, Mr. Sims elaborates on the use of force, and

                                   3   states: C/O Collier “pushed me up against the wall and assulted me by squeezing my genitals and

                                   4   throw me back down on the shower floor while I was hancuffed behind my back and caused injury

                                   5   to my right shoulder.” (ECF No. 48 at 3 (errors in source).)

                                   6      It is unclear to the court whether Mr. Sims wants to present to the court a claim for excessive

                                   7   force. Although a plaintiff is the master of his pleadings and this plaintiff’s pleadings suggest that

                                   8   he was most concerned about the denial of medical care, the court must liberally construe

                                   9   pleadings from pro se plaintiffs. See Erickson v. Pardus, 551 U.S. 89, 94 (2007) (“A document

                                  10   filed pro se ‘is to be liberally construed,’ . . . and ‘a pro se complaint, however inartfully pleaded,

                                  11   must be held to less stringent standards than formal pleadings drafted by lawyers.’”) The amended

                                  12   complaint at least hints at the existence of a possible claim for excessive force claim and the
Northern District of California
 United States District Court




                                  13   description in the opposition to the motion for summary judgment suggests such a claim could be

                                  14   pled. See generally Hudson v. McMillian, 503 U.S. 1, 6 (1992) (whenever prison officials stand

                                  15   accused of using excessive physical force in violation of the Eighth Amendment, the core judicial

                                  16   inquiry is whether force was applied in a good-faith effort to maintain or restore discipline, or

                                  17   maliciously and sadistically to cause harm). Therefore, out of an abundance of caution, the court

                                  18   will provide Mr. Sims an opportunity to try to plead such a claim.

                                  19      If Mr. Sims wishes to allege an excessive force claim against C/O Collier, he must file and

                                  20   serve on defense counsel an amendment to his amended complaint no later than February 13,

                                  21   2017. If Mr. Sims does not file an amendment by that deadline, the court will proceed on the basis

                                  22   that Mr. Sims chose not to assert an excessive force claim. The court is directing Mr. Sims to file

                                  23   an amendment to his amended complaint rather than a second amended complaint, so that he will

                                  24   only need to allege a claim for excessive force and will not need to repeat the claim for deliberate

                                  25   indifference to medical care. An amendment is read together with the amended complaint,

                                  26   whereas a second amended complaint would supersede the amended complaint. Plaintiff is

                                  27   cautioned that administrative remedies for any excessive force claim must have been exhausted

                                  28   before he filed this action. See 42 U.S.C. § 1997e(a) (“No action shall be brought with respect to
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                                           Case 3:15-cv-03003-LB Document 50 Filed 01/09/17 Page 3 of 4




                                   1   prison conditions under [42 U.S.C. § 1983], or any other Federal law, by a prisoner confined in

                                   2   any jail, prison, or other correctional facility until such administrative remedies as are available are

                                   3   exhausted.”)

                                   4      After this pleading issue is resolved, the court will address the pending motion for summary

                                   5   judgment.

                                   6      IT IS SO ORDERED.

                                   7   Dated: January 9, 2017

                                   8                                                     ______________________________________
                                                                                         LAUREL BEELER
                                   9                                                     United States Magistrate Judge
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Northern District of California
 United States District Court




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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        JAMES MARION SIMS,
                                   7                                                          Case No. 15-cv-03003-LB
                                                       Plaintiff,
                                   8
                                                v.                                            CERTIFICATE OF SERVICE
                                   9
                                        TOMASIAN, et al.,
                                  10
                                                       Defendants.
                                  11

                                  12
Northern District of California




                                              I, the undersigned, hereby certify that I am an employee in the Office of the Clerk, U.S.
 United States District Court




                                  13
                                       District Court, Northern District of California.
                                  14
                                              That on January 9, 2017, I SERVED a true and correct copy(ies) of the attached, by
                                  15
                                       placing said copy(ies) in a postage paid envelope addressed to the person(s) hereinafter listed, by
                                  16
                                       depositing said envelope in the U.S. Mail, or by placing said copy(ies) into an inter-office delivery
                                  17
                                       receptacle located in the Clerk's office.
                                  18
                                  19   James Marion Sims ID: H90920
                                       Corcoran State Prison 4A Left-56
                                  20   PO Box 3476
                                       Corcoran, CA 93212
                                  21

                                  22

                                  23   Dated: January 9, 2017

                                  24
                                                                                          Susan Y. Soong
                                  25                                                      Clerk, United States District Court
                                  26
                                                                                          By:________________________
                                  27                                                      Ada Means, Deputy Clerk to the
                                  28                                                      Honorable LAUREL BEELER

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